                              NO. 07-06-00157-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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APRIL 25, 2011
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                         RANCHO LA VALENCIA, INC. AND
                      CHARLES R. RANDY TURNER, APPELLANTS
                                       
                                      v.
                                       
                              AQUAPLEX, INC. AND
                      JAMES EDWARD JONES, JR., APPELLEES 
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                FROM THE 201ST DISTRICT COURT OF TRAVIS COUNTY;
                                       
               NO. GN304287; HONORABLE SUZANNE COVINGTON, JUDGE
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                              ORDER ON BANKRUPTCY
                                       
	This Court has received notice that appellant, Charles R. "Randy" Turner, has filed for bankruptcy protection in Cause No. 10-38381 in the United States Bankruptcy Court for the Northern District of Texas.  Attached to this notice is a copy of the Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, and Deadlines indicating that the case was filed on December 13, 2010.  See Tex. R. App. P. 8.1.  Thus, pursuant to the statutory automatic stay, we suspend this appeal.  See 11 U.S.C.A. § 362(a) (West 2004 &amp; Supp. 2010); Tex. R. App. P. 8.
	We abate this appeal until further order of this Court.  The parties are directed to take such action as is appropriate to advise the Clerk of this Court of any change in the status of Turner's bankruptcy proceeding which would affect the status of this appeal, including but not limited to the filing of a motion to reinstate or sever pursuant to Rule 8.3.  See Tex. R. App. P. 8.3.


Per Curiam




